
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0259-13






ATHA ALBERT DOBBS, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


WASHINGTON COUNTY





		Meyers, J., filed a dissenting opinion.


DISSENTING OPINION 



	Because I disagree with the majority's conclusion that no rational juror could have
found that Appellant's conduct constituted a use of force against a peace officer, I would
have affirmed the court of appeals' decision. I believe that the evidence was sufficient to
support Appellant's conviction and, therefore, I respectfully dissent. 

	The essential elements of resisting arrest are: (1) intentionally, (2) preventing or
obstructing, (3) a person the defendant knows to be a peace officer or working with a
peace officer, (4) from effecting an arrest, (5) of the defendant or another, (6) by using
force against the peace officer or another. Tex. Penal Code § 38.03(a) (West 2013).
Although it is usually a Class A misdemeanor, the offense becomes a felony in the third
degree if the defendant uses a deadly weapon to resist. See id. at §§ 38.03(c)-(d).

	The Penal Code does not define "force" or "using force against" for Section 38.03
purposes. However, the section's commentary further explains that the section "applies
only to resistance by the use of force. One who runs away or makes an effort to shake off
the officer's detaining grip may be guilty of evading arrest under Section 38.04, but he is
not responsible under this section." Washington v. State, 525 S.W.2d 189, 190 (Tex.
Crim. App. 1975) (quoting practice commentary). 

	Despite this clarification, courts have come to a number of different results when
confronting what constitutes "force against" an officer or another. See Pumphrey, 245
S.W.3d at 91-92 (determining that the force need only be in opposition to the officer, not
necessarily directed toward him, and, therefore, the defendant's jerking and twisting
against the officer's efforts to arrest her were sufficient to support the conviction); Gary
v. State, 195 S.W.3d 339, 341 (Tex. App.-Waco 2006, no pet.) (holding that the release
of an attack dog, even though the dog never touched the officer, constituted force);
Sheehan v. State, 201 S.W.3d 820, 823 (Tex. App.-Waco 2006) (determining evidence of
force to be insufficient where defendant pulled arms into chest and refused to move them
because those actions caused no danger of injury to the officers); Torres v. State, 103
S.W.3d 623, 627 (Tex. App.-San Antonio 2003) (concluding that the defendant used
force against the officers by raising his arm up and knocking the officers' hands away
while they attempted to handcuff him); Campbell v. State, 128 S.W.3d 662, 667-78 (Tex.
App.-Waco 2003) (producing a gun, saying "get back," and physically resisting
established "use of force" against the officer); Leos v. State, 880 S.W.2d 180, 184 (Tex.
App.-Corpus Christi 1994, not pet.) (holding that an attempt to flee by crawling away did
not constitute sufficient force for a resisting arrest conviction); Raymond v. State, 640
S.W.2d 678 (Tex. App.-El paso 1982, pet. ref'd) (concluding that merely pulling arm
away from arresting officer was insufficient to support the conviction).

	As discussed, in order to be convicted of resisting arrest, the defendant must use
the force "against the peace officer or another" to obstruct the arrest. Tex. Penal Code §
38.03(a). "Another" is defined as "a person other than the actor," and "actor" is defined
as "the person whose criminal responsibility is in issue in a criminal action." Id. §
1.07(a)(2), (5). Therefore, the plain language of the Penal Code indicates that when the
defendant himself is the target of the force he uses, that conduct alone will not be enough
on which to base a charge for resisting arrest. 

	Thus, we must determine whether Appellant's actions of  wielding a gun and
pointing it at his own head constitutes force against the officer for the purposes of
resisting arrest. The Appellant claims that the officers were never threatened or in danger
of being harmed, so his actions could not be considered "force." The State argues that
Appellant's possession of and refusal to hand over the gun were force used against the
officers that delayed and hindered his arrest.

	Although the specific issue in this case has not been considered before, logic and
caselaw make clear that at least pointing a gun at an individual constitutes force. See, e.g.
Lewis v. State, 469 So.2d 1291, 1298 (Ala. Crim. App. 1984), aff'd, 469 So. 2d 1301
(Ala. 1985) ("brandishing the weapon constituted both the use of force and the threat of
force"); People v. Le Blanc, 23 Cal. App. 3d 902, 908-09 (Cal. App. 3d Dist. 1972)
(aiming a gun at the victim while demanding money constituted "force"); State v.
Deutscher, 225 Kan. 265, 270-71 (Kan. 1979) (pointing an unloaded gun at victim was
sufficient for a conviction under the assault statutes); State v. Gordon, 321 A.2d 352, 367
(Me. 1974) ("the pointing of a firearm at Prout while defendant and Strode were taking
Prout's automobile was unquestionably the use of 'force and violence'"); State v. Allen,
69 S.W.3d 181, 186 (Tenn. 2002) ("Pointing a deadly weapon at the victim is physical
force directed at the body of the victim."). While it is less clear whether brandishing the
gun without pointing it at or threatening an officer or another is sufficient to qualify as
force, I would hold that in Appellant's case, the evidence was sufficient for a jury to
conclude that he used force against the officer in obstructing his arrest.

	With no statutory definition of "force" provided, we may look to dictionary
definitions to determine its plain meaning. Lane v. State, 933 S.W.2d 502, 515 n.12 (Tex.
Crim. App. 1996). Black's Law Dictionary defines "force" as "power, violence, or
pressure directed against a person or thing." Black's Law Dictionary 519 (7th ed.
2000). I believe that a jury could reasonably conclude that, even though Appellant only
verbally threatened himself, his wielding of a firearm in response to the arrest attempt not
only put pressure on the officers to delay the arrest but also gave Appellant power over
those officers. 

	The majority asserts that Appellant's actions were not "against" a peace officer
because he never directed a threat toward the officers. I disagree with this conclusion,
however, because I believe the threat was inherent in Appellant's actions and did not need
to be expressly stated. When officers encounter a person threatening to kill himself,
whether that person is an arrestee or not, they will work toward a resolution that leaves
every individual involved safe and alive, including the officers. In an arrest situation, this
would likely result in the arrest being delayed until officers could safely approach the
arrestee. This is particularly true where there is a dangerous or deadly weapon involved
that needs to be secured for everyone's, including the officers', safety. Anytime someone
is brandishing a weapon, there is a special danger. While a person may be threatening
only himself, no one can read his thoughts or predict what he may do next. As we have
acknowledged in the past, "display of a deadly weapon may, and frequently does, produce
a threat of deadly force." Girdy v. State, 213 S.W.3d 315, 318 (Tex. Crim. App. 2006).
The dangerous weapon could be used against the individual or turned against other people
at any moment. And if the individual did use the weapon only upon himself, there is still a
danger of it causing great harm to the people around him. If, for example, a bullet passed
all the way through someone's body and continued traveling, there could be grave
repercussions for a bystander. The officers' goal would be to maintain everyone's safety,
including both the defendant's and their own, and this goal is threatened once a weapon is
used against any individual involved in the situation. Therefore, as demonstrated by this
case, someone pointing a gun at his own head while officers are attempting to make an
arrest is a use of force against those officers that obstructs them from effecting the arrest.
Consequently, I believe that the evidence of the force used by Appellant was sufficient to
convict him of resisting arrest with a deadly weapon.

	Contrary to the majority's conclusion, Appellant used force "in opposition to" the
officer. And because Appellant inherently threatened him, using a firearm to delay his
arrest and gain control of the situation, a jury could reasonably conclude that he used
force against the officer. Therefore, I would conclude that the evidence is sufficient to
support Appellant's conviction, and would affirm the judgment of the court of appeals.

							Meyers, J.

Filed: June 25, 2014

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